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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


In re:                                                             Chapter 11

MURRAY ENERGY HOLDINGS CO., et al.,1                               Case No. 19-56885 (JEH)
                                                                   (Jointly Administered)
                                    Debtors.
                                                                   Judge John E. Hoffman, Jr.


BLACK DIAMOND COMMERCIAL FINANCE,
L.L.C., as Administrative Agent,

                                    Plaintiff,

         v.                                                        Adv. Pro. No. 19-02143

MURRAY ENERGY CORP., MURRAY                                        Related Docket No.: 1
ENERGY HOLDINGS CO., GLAS TRUST                                    Oral Argument Requested
COMPANY LLC, and U.S. BANK, N.A.,

                                    Defendants.




    DEFENDANTS MURRAY ENERGY CORP., MURRAY ENERGY HOLDINGS CO.,
                    AND GLAS TRUST COMPANY LLC’S
         JOINT MOTION TO DISMISS THE ADVERSARY COMPLAINT OF
              BLACK DIAMOND COMMERCIAL FINANCE, L.L.C.




1
         Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last
four digits of their federal tax identification numbers is not provided herein. Such information may be obtained on
the website of the Debtors’ claims and noticing agent at https://cases.primeclerk.com/MurrayEnergy. The location
of Debtor Murray Energy Holdings Co.’s principal place of business and the Debtors’ service address in these
chapter 11 cases is 46226 National Road, St. Clairsville, Ohio 43950.




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       Debtor Murray Energy Corp., Debtor Murray Energy Holdings Co., and GLAS Trust

Company LLC, as administrative agent under the Superpriority Credit Agreement (as defined

herein) (collectively, “Defendants”), hereby move to dismiss the complaint of Black Diamond

Commercial Finance, L.L.C. [ECF No. 1] (the “Complaint”),2 pursuant to Fed. R. Civ. P.

12(b)(6), for failure to state a claim upon which relief can be granted. This Motion is supported

by the accompanying Memorandum of Law and such other written or oral argument as may be

presented to the Court.

       WHEREFORE, for the reasons set forth herein and in the accompanying Memorandum

of Law, the Defendants respectfully request that the Court enter an order granting the Motion.


Dated: January 17, 2020
       Columbus, Ohio
                                                       Respectfully submitted,

                                                       /s/ Andrew Goldman
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       Capitalized terms used but not defined herein shall have the meanings given to them in the Complaint.




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                               CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing Defendants Murray Energy Corp., Murray
Energy Holdings Co., and GLAS Trust Company LLC’s Joint Motion to Dismiss the Adversary
Complaint of Black Diamond Commercial Finance, L.L.C. was served electronically on the date
of filing through the court’s ECF System on all ECF participants registered in this case at the
email address registered with the court.



                                                   /s/ Douglas L. Lutz
                                                   Douglas L. Lutz
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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


In re:                                                             Chapter 11

MURRAY ENERGY HOLDINGS CO., et al.,1                               Case No. 19-56885 (JEH)
                                                                   (Jointly Administered)
                                    Debtors.
                                                                   Judge John E. Hoffman, Jr.


BLACK DIAMOND COMMERCIAL FINANCE,
L.L.C., as Administrative Agent,

                                    Plaintiff,

         v.                                                        Adv. Pro. No. 19-02143

MURRAY ENERGY CORP., MURRAY                                        Related Docket No.: 1
ENERGY HOLDINGS CO., GLAS TRUST                                    Oral Argument Requested
COMPANY LLC, and U.S. BANK, N.A.,

                                    Defendants.




     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS MURRAY ENERGY
    CORP., MURRAY ENERGY HOLDINGS CO., AND GLAS TRUST COMPANY LLC’S
       JOINT MOTION TO DISMISS THE ADVERSARY COMPLAINT OF BLACK
                   DIAMOND COMMERCIAL FINANCE, L.L.C.




1
         Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last
four digits of their federal tax identification numbers is not provided herein. Such information may be obtained on
the website of the Debtors’ claims and noticing agent at https://cases.primeclerk.com/MurrayEnergy. The location
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       Debtor Murray Energy Corp., Debtor Murray Energy Holdings Co., and GLAS Trust

Company LLC, as administrative agent under the Superpriority Credit Agreement (as defined

herein) (collectively, “Defendants”), hereby submit this memorandum of law in support of their

joint motion to dismiss the complaint of Black Diamond Commercial Finance, L.L.C. [ECF

No. 1] (the “Complaint”),2 and respectfully state as follows:

                                   PRELIMINARY STATEMENT

       1.        Founded in 1988, Murray Energy Holdings Co. and its debtor- and certain non-

debtor-affiliates comprise the largest privately-owned coal company in the United States,

employing nearly 5,500 people. The company operates a total of eighteen coal mines in the

Northern, Central, and Southern Appalachia Basins, the Illinois Basin, the Uintah Basin in Utah,

and South America. See Declaration of Robert D. Moore ¶¶ 6, 13, In re Murray Energy

Holdings Co., No. 19-56885 (Bankr. S.D. Ohio Oct. 29, 2019), ECF No. 10 (the “Moore

Declaration”).

       2.        By 2018, Murray, along with American thermal coal markets in general, faced

unprecedented economic headwinds. See Moore Decl. ¶¶ 7-8. In 2018, Murray Energy Corp.

and certain of its affiliates (collectively, “Murray”) reached an agreement with their lenders that

provided maturity relief on almost two billion dollars of debt under an existing 2015 term loan

facility (the “Term Loans”). This deal (the “2018 Transaction”) was comprehensive, extensively

negotiated, and fully compliant with the existing credit facility terms.

       3.        As part of the 2018 Transaction, Murray commenced an auction pursuant to

which all Term Loan lenders could elect to exchange their Term Loans for new, superpriority


2
       Capitalized terms used but not defined herein shall have the meanings given to them in the Complaint.



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loans. At the same time, a majority of Term Loan lenders agreed to amend the 2015 Credit

Agreement to eliminate restrictions on, and waive any defaults that could arise from, the 2018

Transaction. Lenders holding approximately 97% of the Term Loan debt—including funds

affiliated with the plaintiff—signed on to the deal.

       4.       Now, more than 18 months after the 2018 Transaction, Black Diamond

Commercial Finance, L.L.C. (“Black Diamond”) seeks to unwind the deal as successor agent for

Term Loan lenders that did not participate in the 2018 Transaction. Black Diamond argues that

the 2018 Transaction is “null and void” because it contravened the 2015 Credit Agreement.

First, Black Diamond attacks the auction through which the transaction was consummated (the

“Specified Auction”) as being noncompliant with the Term Loan credit documents. Second,

Black Diamond asserts that the 2015 Credit Agreement amendment entered into as part of the

2018 Transaction was ineffective.

       5.       This is a purely contractual dispute, and the unambiguous terms of the relevant

agreements attached as exhibits to the Complaint establish that Black Diamond’s allegations lack

any merit. The Specified Auction was consummated in accordance with the express provisions

of the 2015 Credit Agreement. In addition, Section 10.5 of the 2015 Credit Agreement expressly

authorized a majority of the Term Loan lenders to amend that agreement in the manner that

occurred in the 2018 Transaction.3 Black Diamond’s lender constituency signed up for that

governance structure. And a majority of the lenders—far more than a majority, in fact—

supported the 2018 Transaction and approved the amendments of which Black Diamond now

complains. Black Diamond’s primary grievance—that it takes issue with the 2018 Transaction

and the amendments to the 2015 Credit Agreement that authorized it—all fail as a result. Black


3
       See infra note 4.


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Diamond’s only remaining argument—that the 2018 Transaction improperly “released”

collateral without unanimous consent—fails because the 2018 Transaction did no such thing.

       6.      The 2018 Transaction complied fully with the governing credit documents, and

Black Diamond—who is bound by those documents and whose predecessor agent participated in

it—cannot now seek to undo it. Worse, Black Diamond seeks not only to set things back to the

way they were, but also to “leapfrog” the extending lenders, a remedy that lacks any basis in law

or fact. The Court should not permit Black Diamond to pursue this disruptive sideshow at the

expense of an orderly and efficient restructuring. The Complaint should be dismissed with

prejudice.

                                   FACTUAL BACKGROUND

       A.      Murray’s Need For Greater Runway On Its 2015 Term Loans

       7.      In 2015, Murray obtained up to $2 billion in financing in Term Loans that were

due to mature in 2020. See Compl. ¶ 19. In 2018, as the outlook for the coal production industry

darkened, Murray wanted to push back those maturity dates. See id. ¶ 1. Murray began to

negotiate an extension of that 2020 maturity date, along with other modifications of its

repayment obligations, with its Term Loan lenders. See, e.g., id. ¶ 34.

       8.      The 2018 Transaction allowed Murray to keep the same rates and substantially

similar terms, but with a longer maturity horizon that pushed out repayment into 2022. See

Compl. ¶ 35. In exchange, the extending lenders (the “Superpriority Lenders”) were granted a

superpriority interest in the collateral that supported the Term Loans, plus a first-priority lien on

additional collateral. See id. ¶¶ 36-37. While not all the Term Loan lenders participated, all

Term Loan lenders were invited to participate on identical terms and on a 1:1 basis. See id. Ex. 5

(the “Auction Notice”). The non-extending Term Loan lenders retained their security interests

and the earlier, 2020 maturity dates.

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        9.       The 2018 Transaction was executed on June 29, 2018. Although only a majority

of lenders were required to consummate the transaction, lenders holding 97% of the Term Loan

debt at the time participated, including several fund managers associated with Black Diamond.

See Compl. Ex. 4, Waiver, Consent and Amendment No. 3 to Credit and Guaranty Agreement

(“Third Am.”), ECF No. 1-4 at Page 13 of 635 - Page 404 of 635. Indeed, Black Diamond’s

founder and managing member, Stephen Deckoff, personally signed the auction notice on behalf

of four different Black Diamond funds. See id. at Page 110 of 635 - Page 113 of 635.

        B.       Mechanics Of The 2018 Transaction

        10.      The 2018 Transaction was a complex deal involving sophisticated market

participants. The obligors, agent, and lenders were advised by counsel. It was consummated

through “an interrelated and interdependent series of actions.” Compl. ¶ 38. Specifically, it was

consummated through an auction that complied fully with the auction procedures of the 2015

Credit Agreement, and through amendments to the 2015 Credit Agreement (as defined below)

permitted with the consent of only the majority lenders.4

        11.      Most centrally to the Complaint, Murray conducted the Specified Auction,

through which Murray purchased Term Loans from the Superpriority Lenders and exchanged

them for loans with longer maturity dates under a new credit agreement (the “Superpriority

Credit Agreement”). See, e.g., Compl. ¶¶ 18-20, 34, 40.



4
          Section 10.5(a) of the 2015 Credit Agreement provided that “no amendment, modification, termination or
waiver of any provision of the Credit Documents, or consent to any departure by any Credit Party therefrom, shall in
any event be effective without the written concurrence of Requisite Lenders and Borrower”. See Compl. Ex. 1,
Credit and Guaranty Agreement § 10.5(a) (the “2015 Credit Agreement”). The term “Requisite Lenders” was, in
turn, defined by the 2015 Credit Agreement as “one or more Lenders having or holding Term B-1 Loan Exposure,
Term B-2 Loan Exposure, New Term Loan Exposure and/or Incremental Revolving Exposure (if any) and
representing more than 50% of the aggregate Voting Power Determinants of all Lenders.”). See id. at 47. Black
Diamond does not dispute anywhere in the Complaint that all components of the 2018 Transaction were approved
by “Requisite Lenders” under the 2015 Credit Agreement.



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       12.      The Third Amendment to the 2015 Credit Agreement harmonized the existing

credit documents with the terms of the 2018 Transaction. Among other things, the Third

Amendment modified the 2015 Credit Agreement’s restrictions on Murray’s ability to incur new

debt and offer additional collateral to lenders. See Compl. Ex. 4, Third Am. § 2(l).5 The Third

Amendment also adapted other loan documents, like the Collateral Trust Agreement,6 the

Intercreditor Agreement,7 and the Pledge & Security Agreement,8 to reflect the superpriority

interests. Each of these amendments was permitted with the consent of only the majority

lenders.

       13.      Following the 2018 Transaction, all lenders—both non-extending and

superpriority—became subject to these amended documents. The Superpriority Lenders held

loans under the Superpriority Credit Agreement. The existing collateral for the Term Loans

remained in place and was subordinated to the liens securing the new, superpriority loans. See,

e.g., Compl. ¶ 44.

       14.      As part of the 2018 Transaction, GLAS Trust Company LLC (“GLAS”) was

appointed as the successor administrative agent to Deutsche Bank under the 2015 Credit

Agreement, in which capacity it served until being replaced by Black Diamond. GLAS was also

appointed, and still serves, as the administrative agent under the Superpriority Credit Agreement.




5
       Specifically, Sections 2.14, 5.1, and 6.1.

6
       See Third Amendment, Ex. O (Collateral Trust Agreement).

7
       See Third Amendment, Ex. N (Intercreditor Agreement).
8
       See Third Amendment, Ex. H (Pledge and Security Agreement).



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       C.      Black Diamond Challenges The Transaction

       15.     On October 29, 2019, Murray and its debtor-affiliates filed for relief under

chapter 11 of the Bankruptcy Code.

       16.     On November 20, 2019, eighteen months after the 2018 Transaction, Black

Diamond brought the above-captioned adversary proceeding as successor Term Loan agent,

seeking a declaration that the 2018 Transaction was ineffective and that the non-extending Term

Loan lenders enjoy a first-priority position with respect to the Term Loan collateral. See Compl.

at 20 (“Prayer for Relief”).

                                          ARGUMENT

       17.     This Court can—and should—resolve this dispute at the motion-to-dismiss stage.

Bankruptcy Rule 7012(b) makes Rule 12(b) applicable in adversary proceedings. Courts

regularly dismiss claims pursuant to Rule 12(b)(6) when “there is no law to support the claims

made, the facts alleged are insufficient to state a claim, or there is an insurmountable bar on the

face of the complaint.” On Marine Servs. Co. v. EVTAC Mining, LLC, No. 2:01-CV-934, 2002

WL 31412437, at *2 (S.D. Ohio Sep. 30, 2002) (granting motion to dismiss).

       18.     Conclusory statements in a complaint that are contradicted by exhibits thereto are

not “well-pleaded” and will fail to support a claim. Schmelzer v. Huntington Bancshares Fin.

Corp., No. 2:16-cv-134, 2017 U.S. Dist. LEXIS 101110, at *5 (S.D. Ohio June 29, 2017).

Specifically, “[t]he clear and unambiguous language of a contract that is made part of the

pleadings overcomes contradictory conclusory averments of the [c]omplaint.” On Marine Servs.

Co., 2002 WL 31412437, at *3. In the context of a Rule 12(b)(6) motion, the Court may review

an attached agreement along with the complaint, and if the contract is so “clear and unambiguous

on its face that the Court may determine to a certainty that the plaintiff would be entitled to no

relief under any provable set of facts,” the complaint should be dismissed. See On Marine Servs.

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Co., 2002 WL 31412437, at *3 (citing Slife v. Kundtz Props., Inc., 318 N.E.2d 557 (Ohio Ct.

App. 1974)); Consolidated Jewelers, Inc. v. Standard Fin. Corp., 325 F.2d 31, 36 (6th Cir. 1963)

(“General averments of conclusions stated in the pleadings do not require the District Court to

hear evidence, when the pleadings are at variance and inconsistent with the clear and

unambiguous language of the contract filed as an exhibit thereto.”).

         19.      Here, the parties expressly selected New York law to govern their relationship.9

“When interpreting a contract under New York law, the intention of the parties should control,

and the best evidence of intent is the contract itself.” Gary Friedrich Enters., LLC v. Marvel

Characters, Inc., 716 F.3d 302, 313 (2d Cir. 2013) (internal quotations and alterations omitted).

“[A] written agreement that is complete, clear and unambiguous on its face must be enforced

according to the plain meaning of its terms.” Greenfield v. Philles Records, Inc., 780 N.E.2d

166, 170 (N.Y. 2002); see also W.W.W. Assocs., Inc. v. Giancontieri, 566 N.E.2d 639, 642

(N.Y. 1990) (noting that a court need go no further than the “four corners” of a contract where it

is unambiguous).

         20.      This rule is applied “with even greater force in commercial contracts negotiated at

arm’s length by sophisticated, counseled businesspeople.” Ashwood Capital, Inc. v. OTG Mgmt.,

Inc., 948 N.Y.S.2d 292, 297 (App. Div. 2012) (citing Vermont Teddy Bear Co. v. 538 Madison

Realty Co., 807 N.E.2d 876, 879 (N.Y. 2004)). “In such cases, ‘courts should be extremely




9
         See 2015 Credit Agreement § 10.15; Amended and Restated Collateral Trust Agreement, Compl. Ex. 2
§ 7.16; Amended and Restated Intercreditor Agreement dated April 16, 2015, Compl. Ex. 3 § 8.6(a); Waiver,
Consent and Amendment No. 3 to Credit and Guaranty Agreement, Compl. Ex. 4 § 10. District courts sitting in
Ohio will generally enforce the parties’ choice of law in a contract. See, e.g., Pritchard v. Dent Wizard Int’l Corp.,
275 F. Supp. 2d 903, 915 (S.D. Ohio 2003) (“In Ohio, a contract clause that dictates which state’s law governs the
agreement is generally enforceable.”); Wells Fargo Bank, N.A. v. LaSalle Bank Nat’l Ass’n, 643 F. Supp. 2d 1014,
1022 (S.D. Ohio 2009) (“New York law governs the contractual issues in this case.”).



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reluctant to interpret an agreement as impliedly stating something which the parties have

neglected to specifically include.’” Id.

       21.     Further, contract language is not made ambiguous simply because the parties urge

different interpretations. Sayers v. Rochester Tel. Corp. Supplemental Mgmt. Pension Plan,

7 F.3d 1091, 1095 (2d Cir. 1993); Empire State Bldg. Co. v. N.Y. Skyline, Inc. (In re N.Y. Skyline,

Inc.), 471 B.R. 69 (Bankr. S.D.N.Y. 2012); Serdarevic v. Centex Homes, LLC, 760 F. Supp. 2d

322, 329 (S.D.N.Y. 2010). The Court should also be careful not to “by construction add or

excise terms” or “distort the meaning of those used and thereby make a new contract for the

parties under the guise of interpreting the writing.” Bailey v. Fish & Neave, 868 N.E.2d 956, 959

(N.Y. 2007) (quoting Vermont Teddy Bear Co., 807 N.E.2d at 879). Rather, where a contract is

“so clear and unambiguous” that the Court can “determine to a certainty that the plaintiff would

be entitled to no relief under any provable set of facts,” the court must dismiss the plaintiff’s

claims. On Marine Servs. Co., 2002 WL 31412437, at *3. That is the case here, where the 2018

Transaction complied in all respects with the clear and unambiguous language of the 2015 Credit

Agreement.

I.     The Specified Auction Complied With Section 10.6(i) Of The 2015 Credit
       Agreement

       22.     Section 10.6(i) of the 2015 Credit Agreement expressly permitted lenders to sell

their loans back to the borrower in connection with a “modified Dutch auction.” The gravamen

of Black Diamond’s complaint appears to be that the Specified Auction failed to comply with

Section 10.6(i) because it was not a true “modified Dutch auction” and was not “consistent with

industry practice.” See Compl. ¶¶ 49-51.

       23.     That argument fails at a minimum because, in the context of the specific and

reticulated provisions of the 2015 Credit Agreement, the industry meaning of “modified Dutch

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auction” is irrelevant. To be sure, where a contract is ambiguous or the parties intentionally use

a term of art, New York courts sometimes look to the meaning of a term in industry to give

meaning to an otherwise ambiguous term. See, e.g., Beardslee v. Inflection Energy, LLC,

31 N.E.3d 80, 84 (N.Y. 2015). Here, however, the contract laid out in detail the procedures that

the Specified Auction could follow. Since the Specified Auction fully complied with those

procedures, that is the end of the analysis. See, e.g., Trident Int’l Ltd. v. Am. S.S. Owners Mut.

Prot. & Indem. Ass’n, No. 06 Civ. 6136, 2008 U.S. Dist. LEXIS 47862, at *19-20 (S.D.N.Y.

June 19, 2008) (any “[a]nalysis of . . . the customs and practices of the [relevant] industry does

not alter the plain language of the [contract]”), aff’d, 331 F. App’x 77 (2d Cir. 2009); Lehman

Bros. Int’l (Europe) v. AG Fin. Prods., Inc., 110 N.Y.S.3d 218, 2018 WL 3432593, at *10 n.11

(Sup. Ct. July 2, 2018) (unpublished table decision) (“[T]he case law does not support using

industry custom to contradict or nullify unambiguous contractual provisions ... .”).

       24.     Section 10.6(i) defines how an “auction” is to be conducted, and expressly allows

for flexible auction procedures. Under the procedures of Section 10.6(i), any and all lenders

were permitted to sell their loans to the borrower on a “non-pro rata basis,” so long as the

borrower’s repurchase offer was made on uniform terms across all lenders. Specifically, Section

10.6(i) provided:

               Notwithstanding anything to the contrary contained in this Section
               10.6 or any other provision of this Agreement, so long as no
               Default or Event of Default has occurred and is continuing or
               would result therefrom, each Lender shall have the right at any
               time to sell, assign or transfer all or a portion of its Term Loan
               Commitment or Term Loans owing to it to Borrower on a non-pro
               rata basis . . . through (A) one or more modified Dutch auctions
               conducted by Borrower (each, an “Auction”) to repurchase all or
               any portion of the Term Loans, provided that, (i) notice of the
               Auction shall be made to all Term Loan Lenders and (ii) the
               Auction shall be conducted pursuant to such procedures as the
               Auction Manager may establish which are consistent with this

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                  Section 10.6(i) and the Auction Procedures set forth on Exhibit M
                  and are otherwise reasonably acceptable to Borrower, the Auction
                  Manager, and Administrative Agent or such other procedures as
                  are acceptable to Borrower and Administrative Agent or (B) open
                  market purchases[.]

2015 Credit Agreement § 10.6(i) (emphasis added).

         25.      In other words—provided that notice of the auction was given to all lenders and

the auction was conducted pursuant to procedures approved by the Auction Manager (Goldman

Sachs Lending Partners LLC)—each lender was authorized to transfer its loans back to the

borrower by auction at any time, so long as the transfer would not result in an event of default. It

is undisputed that no default preceded the auction. And, while Section 10.6(i) requires only that

an auction notice be “consistent with” Exhibit M, the Auction Notice, which Black Diamond

appended to the Complaint, conforms precisely to Exhibit M. Compare Compl. Ex. 5 (the

“Auction Notice”), with 2015 Credit Agreement, Ex. M.10

         26.       In addition, Section 10.6(i) expressly permits the borrower to conduct an auction

pursuant to any “other procedures as are acceptable to Borrower and Administrative Agent.”

Thus, even had the Specified Auction deviated from the detailed procedures set forth in Section

10.6(i)—and it did not—the Borrower’s and Administrative Agent’s consent to the procedures

necessarily means that the Specified Auction could not have violated Section 10.6(i).




10
          Black Diamond contends that in a modified Dutch auction, the borrower specifies a predetermined amount
of loans to repurchase and announces a “range” of prices at which it is willing to do so. See Compl. ¶¶ 50-51. That
is what happened here. The Auction Notice specified that the borrower was offering to repurchase “the entire
principal amount” of Term Loans outstanding, which is substantively no different than specifying a dollar amount of
such loans; in either event the amount of loans that the borrower is seeking to acquire is predetermined. In addition,
the fact that the Auction Notice specified a range effectively equal to par value is irrelevant. The purpose of an
auction is to determine the lowest price the borrower will need to pay to acquire the loans it wishes to acquire. That
purpose is not undermined by specifying a fixed price. Indeed, the lenders in such a scenario actually receive more
certainty as to the price at which their loans may ultimately be repurchased, and they can elect to tender those
loans or not.



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II.      Black Diamond’s Challenges To The Effectiveness Of The Third Amendment Fail

         27.      The majority of the lenders agreed to the 2018 Transaction, and in the Third

Amendment to the 2015 Credit Agreement they waived any defaults that it could have created.

The majority lenders were authorized to amend these documents by the amendment provisions in

the 2015 Credit Agreement itself. See Compl. Ex. 1 § 10.5. Black Diamond argues, however,

that the Third Amendment to the 2015 Credit Agreement was ineffective, for two reasons. First,

Black Diamond argues that even though a majority of the lenders authorized the Third

Amendment, a precondition of the Third Amendment (i.e., that the Specified Auction not give

rise to any defaults) was not met. Second, Black Diamond argues that unanimous consent was

required because the Third Amendment had the effect of releasing collateral. Based on the

express provisions of the contracts that consummated the 2018 Transaction, neither argument has

merit.

         28.      As a threshold matter, Black Diamond is precluded from challenging the validity

of the 2018 Transaction under the express terms of agreements that formed part of that

transaction. Section 2.7(b) of the Collateral Trust Agreement provides that the non-extending

lenders consent to the priority of the superpriority liens and agreed to abstain from taking any

action to undermine that priority in insolvency proceedings or otherwise.11 Similar provisions


11
            Section 2.7(b) of the Collateral Trust Agreement provides, in relevant part: [W]hether or not any
Insolvency or Liquidation Proceeding has been commenced by or against the Borrower or any Guarantor, none of
the holders of Junior Lien Obligations, the Collateral Trustee (unless acting pursuant to an Act of Required
Debtholders) or any Junior Lien Representative will, or will support any Person who does any of the following: (1)
request judicial relief, in an Insolvency or Liquidation Proceeding or in any other court, or take any other action, that
would hinder, delay, limit or prohibit the lawful exercise or enforcement of any right or remedy otherwise available
to the Senior Lien Secured Parties in respect of the Senior Liens or that would limit, invalidate, avoid or set aside
any Senior Lien or subordinate any Senior Liens to the Junior Liens or grant the Junior Liens equal ranking to any
Senior Liens; [. . .] (6) contest or support any other Person in contesting, in any proceeding (including any
Insolvency or Liquidation Proceeding) the validity, enforceability, perfection, priority or extent of any Senior Liens;
or [. . .].” Third. Am. Ex. O. In the Complaint, Black Diamond argues only that the Collateral Trust Agreement is
unenforceable because the terms of the Third Amendment were invalid. See Compl. ¶ 65.



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against challenging the validity, enforceability, or priority of the liens appear in the 2015 Credit

Agreement, as amended, and the Intercreditor Agreement.12

        29.      To be sure, Black Diamond will argue that, if it were to prevail (it should not), it

would escape out from under these provisions. But at present those agreements are prima facie

valid and enforceable, and Black Diamond has yet to carry its burden of proof (or even to

advance arguments sufficient to survive a motion to dismiss). And the fact that—if it is wrong—

Black Diamond stands in breach of numerous agreements underscores the “high risk strategy that

is being implemented” here. Ion Media Networks, Inc. v. Cyrus Select Opportunities Master

Fund, Ltd. (In re Ion Media Networks, Inc.), 419 B.R. 585, 590 (Bankr. S.D.N.Y. 2009)

(describing the confirmation objection of a “sophisticated, economically motivated and woefully

out of the money creditor” who “has deliberately chosen to ignore the terms of an unambiguous

agreement that, read literally, precludes it from opposing confirmation”).13 In any event, Black

Diamond’s claims fail on the merits.

        A.       The Majority Lenders Resolved Any Default Or Event Of Default That
                 Could Otherwise Have Existed

        30.      In the Third Amendment to the 2015 Credit Agreement, the majority lenders

specifically addressed and resolved any defaults that otherwise could have been created by the

2018 Transaction. Specifically, Section 2 of the Third Amendment implemented certain

modifications and waivers to restrictions on Murray’s ability to incur debt and liens pursuant to

the 2018 Transaction. Section 4(b) of the Third Amendment, “Conditions to Effectiveness,”


12
        See Compl. Ex. 1 §§ 9.2, 9.8; Third Am. Ex. N § 2.2.

13
         Defendants expressly reserve any and all remedies, including without limitation in this adversary
proceeding and in the main Murray bankruptcy case, under the Collateral Trust Agreement, the 2015 Credit
Agreement, and the Intercreditor Agreement, in connection with breaches of those agreements by parties thereto,
including without limitation the right to ask monetary damages for violations thereof.



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states that the effectiveness of those modifications and waivers ... “is subject to the substantially

simultaneous satisfaction of each of the following conditions ... [including that] (b) no Default or

Event of Default shall have occurred and be continuing or would result from the consummation

of the Specified Auction.”

        31.      In the face of that clear expression of majority rule, Black Diamond argues that—

despite the clear intent of the parties—the Third Amendment was not effective by its terms.

Black Diamond argues that in conducting the Specified Auction, Murray incurred additional

indebtedness, guarantees, and liens in breach of the negative covenants of sections 6.1 and 6.2 of

the 2015 Credit Agreement, thus giving rise to multiple events of default. See Compl. ¶¶ 52, 55,

58.14 It does not dispute that Section 2 of the Third Amendment, if effective, removed those

negative covenants from the 2015 Credit Agreement and thus absolved any default that the 2018

Transaction would otherwise have created. See id. Ex. 4 § 2(l); id. ¶ 43. Black Diamond argues,

however, that Section 2 was not operative at all because of these breaches.

        32.      This contorted reading of the Third Amendment makes no sense as an ordinary

matter of construction.

                 1.       The Text And Structure Of The Third Amendment Make Clear That The
                          Specified Auction Did Not Breach Any Negative Covenants

        33.      First—and straightforwardly—the Specified Auction did not cause Murray to

incur additional indebtedness, guarantees, or liens. It was in the Superpriority Credit Agreement

and related documents that Murray actually took on its new obligations, not in the Specified




14
         Black Diamond also argues that the Specified Auction failed to comply with Section 10.6(i). See Compl.
¶¶ 49-50. As argued above, though, the Specified Auction complied with Section 10.6(i) in all respects. See supra
Section II.



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Auction itself. Nor is it true that a default “would result from the consummation of the Specified

Auction,” since the Third Amendment expressly resolved any such defaults.

         34.      To be sure, the Specified Auction anticipated that Murray would incur new

obligations. See Compl. ¶ 39. The Auction Notice states that the exchange would be for

indebtedness “deemed borrowed” under the Superpriority Credit Agreement. See id. Ex. 5. But

complex transactions where multiple steps take place in a coordinated order on the same day are

not unusual. Courts interpret the staging of the various steps in a way that is commercially

reasonable and gives the transaction its intended effect.15 Here, the Specified Auction, the Third

Amendment, and the Superpriority Credit Agreement all formed part of the same transaction.16

That is no reason to ignore the distinct role each piece plays in the transaction.

         35.      Black Diamond’s reading of Section 4 of the Third Amendment does violence to

the structure of the text. Section 4’s express reference to the “effectiveness of the amendments,

waivers and consent set forth in Section 2” makes clear that Section 4 conditions the default-

resolving provisions of Section 2 on the absence of other defaults—not the ones otherwise

addressed by Section 2.

         36.      Any contrary reading would mean that the default-resolving provisions of Section

2 would never become operative in a context where they were needed. They would have no

practical effect. That cannot be the right interpretation of the contract. See Galli v. Metz,
15
         See, e.g., Beal Sav. Bank v. Sommer, 865 N.E.2d 1210, 1215 (N.Y. 2007) (concluding that a credit
agreement and a keep-well agreement had “an unequivocal collective design”); CNH Diversified Opportunities
Master Account, L.P. v. Cleveland Unlimited, Inc., No. 650140/2012, 2018 WL 437518, at *7 (N.Y. Sup. Ct. Jan.
16, 2018) (holding that a consent provision in an indenture “does not unravel the collective design of this transaction
or trump the other provisions in the Collateral Trust or the Security Agreement”); see also Liberty USA Corp. v.
Buyer’s Choice Ins. Agency, 386 F. Supp. 2d 421, 425 (S.D.N.Y. 2005) (“[I]t is the general rule that written
contracts executed simultaneously and for the same purpose must be read and interpreted together.”).

16
       Indeed, another condition to effectiveness of the Third Amendment is that the “Superpriority Credit
Agreement is or will become in full force and effect substantially contemporaneously with the effectiveness of this
Agreement.” Third Am. § 4(f).



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973 F.2d 145, 149 (2d Cir. 1992) (“Under New York law an interpretation of a contract that has

‘the effect of rendering at least one clause superfluous or meaningless ... is not preferred and will

be avoided if possible”) (quoting Garza v. Marine Transport Lines, Inc., 861 F.2d 23, 27 (2d Cir.

1988)); see also Lawyers’ Fund for Client Prot. of State of N.Y. v. Bank Leumi Tr. Co. of N.Y.,

727 N.E.2d 563, 566-567 (N.Y. 2000).

                 2.       The Purpose Of The Third Amendment And The Intent Of The Parties
                          Foreclose Any Ambiguity

        37.      Second, to the extent the Court perceives any ambiguity in the contractual terms,

it should interpret the Third Amendment consistently with the purpose of the contract, the intent

of the parties, and common-sense commercial practice. See, e.g., Lockheed Martin Corp. v.

Retail Holdings, N.V., 639 F.3d 63, 69 (2d Cir. 2011) (“It is axiomatic under New York law ...

that the fundamental objective of contract interpretation is to give effect to the expressed

intentions of the parties”) (internal quotation and alteration omitted).17 Furthermore, “a contract

should not be interpreted to produce a result that is absurd, commercially unreasonable or

contrary to the reasonable expectations of the parties.” Lipper Holdings, LLC v. Trident

Holdings, LLC, 766 N.Y.S.2d 561, 562 (App. Div. 2003) (citations omitted).

        38.      Black Diamond’s reading is inconsistent with the parties’ intent and would

frustrate the very purpose of the Third Amendment. Black Diamond argues that, based on its

interpretation, the Third Amendment was ineffective and thus accomplished nothing. See

Compl. at 20. Of course, the parties to the Third Amendment did not intend for it to have no

effect whatsoever. See Heyman Cohen & Sons, Inc. v. M. Lurie Woolen Co.,133 N.E. 370, 371



17
          New York law, moreover, does not favor constructions that create conditions precedent. See Willis v.
Ronan, 631 N.Y.S.2d 50, 51 (App. Div. 1995). Here, Black Diamond urges a reading that would do something
similar: dramatically overextend the conditions to effectiveness of the Third Amendment.



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(N.Y. 1921) (Cardozo, J.) (interpreting a contract in light of the view that “[i]t was meant to

accomplish something”).18

         B.        Nor Did The Third Amendment Require Unanimity By “Releasing”
                   Collateral

         39.       From there, Black Diamond argues that even the majority lenders could not

effectuate the Third Amendment without the consent of all of the lenders, because it somehow

had the effect of “releasing” collateral. See Compl. ¶ 59-61. To be sure, if Black Diamond is

right, the 2018 Transaction would have required the consent of all of the lenders.19 See id. ¶ 60.

But its argument has no merit.

         40.       The Third Amendment did not release any collateral as a formal matter, by (for

example) agreeing to release it, redefining collateral in the deal documents, or filing a UCC

termination statement. See, e.g., Official Comm. of Unsecured Creditors of Motors Liquidation

Co. v. JPMorgan Chase Bank, N.A., 103 A.3d 1010, 1014 (Del. 2014). As is evident from the

face of the Collateral Trust Agreement, no liens were released as a result of the Specified

Auction or the Third Amendment. Instead, new superpriority liens were created above the

existing (and still extant) first liens securing the non-extending Term Loans. Black Diamond’s

constituency remain secured creditors in these bankruptcy proceedings, superior to all major

creditor constituencies except the superpriority lenders themselves. Nowhere in the Complaint

does it allege to the contrary.
18
         Nor can Black Diamond dispute the intent of the parties. Its predecessor agent Deutsche Bank participated
in the deal and signed the Third Amendment. Thus, even if Black Diamond is permitted to turn around and urge a
contorted reading of the terms of the contract, it cannot be heard to dispute the intent of the parties. See infra
Section III.

19
         Section 10.5 of the 2015 Credit Agreement governs the consents required for amendments, and provides
that “[w]ithout the written consent of each Lender ... that would be directly adversely affected thereby ... no
amendment ... shall be effective if the effect thereof would ... release all or substantially all of the Collateral ...”
2015 Credit Agreement § 10.5(b), Compl. Ex. 1. Black Diamond does not otherwise dispute that the Third
Amendment complied with the 2015 Credit Agreement’s amendment provisions. See Compl. Ex. 1 § 10.5.



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       41.     Instead, Black Diamond contends that “[t]he 2018 Refinancing Transaction had

the effect of releasing all or substantially all of the Collateral, because it purported to subordinate

the Term Loans to the New Term Loans.” Compl. ¶ 61 (emphasis added). This is demonstrably

not true. The Third Amendment did not “have the effect” of releasing collateral, but rather

subordinated Black Diamond’s (still extant) rights in collateral.

       42.     Black Diamond attempts to conflate the concepts of subordination and release.

But they are different. “Substantively, the act of release and the act of subordination perform

different functions and have different results”: release extinguishes interests in collateral while

subordination only reorders the priority of the interests. Silva v. GVF Cannery, Inc. (In re GNV

Cannery, Inc.), 188 B.R. 651, 658 (Bankr. N.D. Cal. 1995), aff’d in part, rev’d in part on other

grounds sub nom. Silva v. Wells Fargo Bank, N.A. (In re GNV Cannery, Inc.), 202 B.R. 140

(N.D. Cal. 1996); In re Tele/Resources, Inc., 21 B.R. 358, 363-364 (Bankr. S.D.N.Y. 1982)

(explaining that subordination “is no more a release of its perfected secured position to any other

parties than is an assignment”), rev’d on other grounds sub nom. Citibank, N.A. v.

Tele/Resources, Inc., 724 F.2d 266 (2d Cir. 1983).

       43.     This distinction is meaningful because “a subordinated lien continues to exist, it

has the potential of rising in priority as senior encumbrances are discharged, and the lienholder

remains a secured (albeit perhaps an undersecured) creditor.” GVF Cannery, 188 B.R. at 658.

Here, Black Diamond retains its liens, albeit on a subordinated basis.

       44.     Had the parties to the 2015 Credit Agreement wanted to condition subordination

(as opposed to or in addition to release) on the consent of all lenders, they could have done so

expressly. The 2015 Credit Agreement was negotiated by sophisticated parties well-versed in




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collateralization. The 2015 Credit Agreement discusses the concept of subordination

throughout, see e.g. §§ 6.1(h), 6.4(n), 7.7, 9.8(a), but Section 10.5 does not contain it.20

         45.      Black Diamond’s argument that the Third Amendment is invalid because it did

not consent to subordination simply has no merit.

III.     Black Diamond Really Seeks Rescission, A Remedy Unavailable To It

         46.      While Black Diamond styles its claims as arising under the 2015 Credit

Agreement, fundamentally, Black Diamond is seeking relief akin to the equitable remedy of

rescission.21 This equitable remedy is unavailable to it for two reasons.

         47.      First, Black Diamond’s argument ignores the fact that it is bound by the actions,

knowledge, and consent of its predecessor. That fact, supported by the documents attached to

the Complaint, renders the relief Black Diamond seeks inequitable: it would give them greater

rights than Deutsche Bank would have had if Deutsche Bank were still the agent. Black

Diamond should be equitably estopped from seeking rescission.

         48.      Equitable estoppel prevents a party from going back on its earlier word, when

another party has justifiably relied on it. See, e.g., Bloemker v. Laborers’ Local 265 Pension

Fund, 605 F.3d 436, 442 (6th Cir. 2010); Sabilia v. Richmond, No. 11 Civ. 739, 2011 U.S. Dist.

LEXIS 152228, at *91-92 (S.D.N.Y. Oct. 26, 2011) (applying New York law), report and

recommendation adopted, No. 11-CV-739, 2012 U.S. Dist. LEXIS 8229 (S.D.N.Y. Jan. 24,

20
         By comparison, for example, the debtor-in-possession credit facility in RadioShack, also from 2015,
expressly said that amendments could not “release all or substantially all of the Collateral” or “subordinate the
Obligations or the Liens securing the Obligations.” In re RadioShack Corp., No. 15-10197, 2015 Bankr. LEXIS
4541, at *415 (Bankr. D. Del. Mar. 12, 2015).

21
        As a threshold matter, rescission of a contract is a remedy available only to those who relied on, and are
harmed by, the misrepresentations or omissions of another. See Bavelis v. Doukas (In re Bavelis), 571 B.R. 278,
300 (Bankr. S.D. Ohio 2017); Zaremba v. Fed. Ins. Co. (In re Cont’l Capital Inv. Servs., Inc.), 439 B.R. 111, 128
(Bankr. N.D. Ohio 2010); HCFA Assocs. Corp. v. Grosman, 960 F. Supp. 581, 585 (E.D.N.Y. 1997). But Black
Diamond does not allege any misrepresentation or omission in the Complaint.



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2012). Where a successor in interest has “knowledge of the facts creating the estoppel,” courts

have applied equitable estoppel to privies as well. See, e.g., Clearview Apartment Assocs., LP v.

Ocasio, 844 N.Y.S.2d 558, 560 (Sup. Ct. App. Term 2007); Facer v. City of Toledo, 702 N.E.2d

1267, 1272 (Ohio C.P. 1998) (“Equitable estoppel applies to parties and privies to a

transaction.”).

        49.       Here, Black Diamond’s predecessor Deutsche Bank participated in the 2018

Transaction with a full understanding of the contours of the deal. Each lender under the 2015

Credit Agreement appointed Deutsche Bank to act on its behalf. See Compl. Ex. 1 § 9.1. Now

Black Diamond as Deutsche Bank’s successor cries foul simply because it thinks it is

advantageous to do so.22

IV.     Any Request To Leapfrog The Superpriority Lenders Is Without Basis

        50.       Finally, Black Diamond’s request for this Court to declare the non-extending

Term Loan lenders the true, first-priority lenders is without legal basis. If the 2018 Transaction

is “null and void,” as the Complaint argues it is, Compl. at 20, the only sensible remedy would

be to return the parties to the positions they would have occupied if the 2018 Transaction had

never happened. This would make Black Diamond’s lender constituency, at best, pari passu

with the Superpriority Lenders.




22
         After the 2018 Transaction, funds associated with Black Diamond, along with other lenders, acquired a
controlling interest in the non-extending Term Loans. Shortly before the petition date, on October 10, 2019, these
funds removed Defendant GLAS as agent and installed Black Diamond as successor agent.



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                                        CONCLUSION

       51.    The Specified Auction was fully compliant with the 2015 Credit Agreement, and

the Third Amendment was effective in consummating the 2018 Transaction. It is clear that

Black Diamond cannot plead any other facts to support its theory. The Complaint should be

dismissed with prejudice.


Dated: January 17, 2020
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Memorandum of Law In Support of
Defendants Murray Energy Corp., Murray Energy Holdings Co., and GLAS Trust Company
LLC’s Joint Motion to Dismiss the Adversary Complaint of Black Diamond Commercial
Finance, L.L.C. was served electronically on the date of filing through the court’s ECF System
on all ECF participants registered in this case at the email address registered with the court.



                                                    /s/ Douglas L. Lutz
                                                    Douglas L. Lutz
